       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Gregory Edward Leonard, II
        v. Commonwealth of Virginia
        Record No. 0135-15-1
        Opinion rendered by Judge Russell on
        April 26, 2016

    2. Charles Jayson Beck, s/k/a Charles Jason Beck
        v. Commonwealth of Virginia
        Record No. 0997-15-1
        Opinion rendered by Judge Russell on
        April 26, 2016

    3. Cynthia Leatrice Porter
        v. Commonwealth of Virginia
        Record No. 0738-15-3
        Opinion rendered by Judge Petty on
        May 3, 2016

    4. Lashant Leonardo White
        v. Commonwealth of Virginia
        Record No. 0767-15-1
        Opinion rendered by Judge Decker on
        May 10, 2016

    5. Arthur Amil Zebbs
       v. Commonwealth of Virginia
       Record No. 0933-15-1
       Opinion rendered by Judge AtLee on
        May 17, 2016

    6. Lamarr Ramon Masean Smith
        v. Commonwealth of Virginia
        Record No. 1117-15-1
        Opinion rendered by Chief Judge Huff on
        May 17, 2016
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Quyen Vinh Phan Le
   v. Commonwealth of Virginia
   Record No. 0850-14-4
   Opinion rendered by Judge O’Brien
    on July 28, 2015
   Petition for appeal refused and petition for rehearing denied (151309)

2. Edgar Edmundo Moreno
   v. Commonwealth of Virginia
   Record No. 1216-14-4
   Opinion rendered by Judge Beales
    on August 11, 2015
   Petition for appeal refused and petition for rehearing denied (151383)

3. Antonio Hall, a/k/a Antonio Barrow
   v. Commonwealth of Virginia
   Record No. 2141-14-1
   Opinion rendered by Judge Beales
    on November 10, 2015
   Refused (151907)

4. Kirk T. Milam
   v. Sheila J. Milam
   Record No. 0079-15-4
   Opinion rendered by Judge Petty
    on November 17, 2015
   Dismissed pursuant to Code § 17.1-410(A)(3) and (B) (160096)

5. Traer Ramon Tisdale
   v. Commonwealth of Virginia
   Record No. 2138-14-1
   Opinion rendered by Judge O’Brien
     on November 17, 2015
   Refused (151879)
